74 F.3d 1230NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Anthony ATKINS, Plaintiff--Appellant,v.Nurse SNIDER;  Nurse Murphy;  Nurse Carter;  Nurse Frody;Nurse Nelson;  Nurse Miller, Defendants--Appellees.
    No. 95-7550.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Jan. 11, 1996.Decided:  Jan. 24, 1996.
    
      Anthony Atkins, Appellant Pro Se.
      Jayne Powell Kelley, Colin James Steuart Thomas, Jr., Timberlake, Smith, Thomas &amp; Moses, P.C., Staunton, Virginia, for Appellees.
      Before RUSSELL, HALL, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Atkins v. Snider, No. CA-94-1081-R (W.D.Va. Sept. 11, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    